                   Case 2:21-cv-00811-TSZ Document 37 Filed 05/19/22 Page 1 of 2




 1                                                           THE HONORABLE THOMAS S. ZILLY
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
 8
     BUNGIE, INC.,                                      No. 2:21-cv-811-TSZ
 9
                              Plaintiff,                DECLARATION OF WILLIAM C. RAVA
10                                                      IN SUPPORT OF PLAINTIFF’S MOTION
     v.                                                 FOR PRELIMINARY INJUNCTION
11
     AIMJUNKIES.COM; PHOENIX
12   DIGITAL GROUP LLC; DAVID
     SCHAEFER; JORDAN GREEN;
13   JEFFREY CONWAY; and JAMES MAY,
14                            Defendants.
15
              I, William C. Rava, declare as follows:
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              1.       I am an attorney licensed to practice law before the courts of the State of
17
     Washington. I am a Partner at Perkins Coie LLP, and counsel in this action for Plaintiff Bungie,
18
     Inc. (“Bungie” or “Plaintiff”). I submit this declaration in support of Plaintiff’s Motion for
19
     Preliminary Injunction. I have personal knowledge of the facts stated herein and, if called upon,
20
     could and would testify competently thereto under oath.
21
              2.       Attached hereto as Exhibit 1 are true and correct copies of Bungie’s United States
22
     copyright registration certificates for Bungie’s computer software and audiovisual works in
23
     Destiny 2 and Destiny 2: Beyond Light.
24

25

26

      RAVA DECL. ISO PLAINTIFF’S MOT.
                                                                                 Perkins Coie LLP
      FOR PRELIM. INJ.                                                     1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 1                                              Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     156906527.1                                                                Fax: 206.359.9000
                   Case 2:21-cv-00811-TSZ Document 37 Filed 05/19/22 Page 2 of 2




 1            3.       Attached hereto as Exhibit 2 is a true and correct screenshot of the website located
 2   at     https://forum.aimjunkies.com/f124/destiny-2-cheat-information-120587/,           captured       on
 3   December 2, 2020.
 4            4.       Attached hereto as Exhibit 3 is a true and correct screenshot of the website located
 5   at https://twitter.com/AimJunkies, captured on December 2, 2020.
 6            5.       Attached hereto as Exhibit 4 is a true and correct screenshot of the website located
 7   at https://forum.aimjunkies.com/paid_subscriptions.php?subid=256, captured on December 2,
 8   2020.
 9            6.       Attached hereto as Exhibit 5 is a true and correct screenshot of the website located
10   at            https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-
11   aimjunkies-for-now-220528/, captured on May 16, 2022.
12            7.       Attached hereto as Exhibit 6 is a true and correct copy of an email that I sent to
13   Defendants’ counsel of record on May 11, 2022. As of the date of this declaration, Defendants
14   have not responded.
15            8.       Attached hereto as Exhibit 7 is a true and correct screenshot of the website located
16   at https://www.aimjunkies.com/unrealbot-acquired, captured on December 2, 2020.
17            9.       Attached hereto as Exhibit 8 is a true and correct copy of an email sent by Defendant
18   David Schaefer to Bungie’s CEO, Pete Parsons, on August 26, 2021.
19

20            I declare under penalty of perjury under the laws of the United States that the foregoing is
21   true and correct.
22

23            Executed this 19th day of May, 2022.
24
                                                         /s/William C. Rava
25                                                       William C. Rava

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      RAVA DECL. ISO PLAINTIFF’S MOT.
                                                                                   Perkins Coie LLP
      FOR PRELIM. INJ.                                                      1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 2                                               Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     156906527.1                                                                 Fax: 206.359.9000
